      Case 1:19-gj-00048-BAH Document 47 Filed 10/28/19 Page 1 of 1



                 THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
IN RE:                              )
                                    )
APPLICATION OF THE COMMITTEE        ) Civil Action No. 1:19-gj-00048 BAH
ON THE JUDICIARY, U.S. HOUSE OF )
REPRESENTATIVES, FOR AN ORDER )
AUTHORIZING THE RELEASE OF          )
CERTAIN GRAND JURY MATERIALS )

              DEPARTMENT OF JUSTICE’S NOTICE OF APPEAL

       NOTICE IS HEREBY GIVEN that the Department of Justice appeals to the

United States Court of Appeals for the District of Columbia Circuit from this Court’s

October 25, 2019, Memorandum and Order (ECF Nos. 45 and 46) requiring disclosure of

certain grand jury information by October 30, 2019.

Dated: October 28, 2019                               Respectfully submitted,

                                                      JOSEPH H. HUNT
                                                      Assistant Attorney General

                                                      JAMES M. BURNHAM
                                                      Deputy Assistant Attorney General

                                                      /s/ Elizabeth J. Shapiro
                                                      ELIZABETH J. SHAPIRO
                                                      CRISTEN C. HANDLEY
                                                      U.S. Department of Justice
                                                      1100 L Street NW
                                                      Washington, DC 20005
                                                      Tel: (202) 514-5302
                                                      Fax: (202) 616-8460

                                                      Counsel for Department of Justice
